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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION


 BARBARA SCHULTZ,

         Plaintiff,

 v.                                               CASE NO.: 8:17-cv-00631-VMC-TBM

 CITIBANK, N.A.,

       Defendant.
 _______________________/



                      JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


                COMES NOW the plaintiff, BARBARA SCHULTZ, and the Defendant, CITIBANK,

N.A.., pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), by and through their undersigned counsel, hereby

stipulate to dismiss, with prejudice, each claim and count therein asserted by Plaintiff against the

Defendant, in the above styled action, with Plaintiff and Defendant to bear their own attorney’s fees,

costs and expenses.

      By:

       /s/ Geoffrey Parmer                          /s/ Laura Westerman Tanner
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                                   CERTIFICATE OF SERVICE

      I certify that on March 27th, 2018 a copy of the foregoing document was served on all counsel of
record via CM/ECF.

                                                  /s/ Geoffrey E. Parmer
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                                                  Florida Bar No. 0989258
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